             Case 19-68764-lrc                   Doc 1                Filed 11/22/19 Entered 11/22/19 08:39:09                                 Desc
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                                                                                                  11,LL! 1H                           IL
 Fill in this information to identify your case:
                                                                                                                              71R: r1

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA


                                                                                                  ''0"
                                                                                                  L L. I 22 Ati 8:33
 Case number (If known)-                                          Chapter you are filing under:
                                                                  Ed Chapter 7
                                                                  0 Chapter 11

       19 - 68764                                                 0 Chapter 12
                                                                  CI Chapter 13                                                            Check if this is an
                                                                                                                                           amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         12/17

The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 In all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:     Identify Yourself

                                    About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
   Write the name that is on your
                                     LAMARCUS
   government-issued picture
                                    First name                                                           First name
   identification (for example,
   your driver's license or         MARQUISE
   passport).                       Middle name                                                          Middle name

   Bring your picture                DAVIS
   identification to your meeting    Last name                                                           Last name
   with the trustee.
                                     Suffix (Sr., Jr., 11, Ill)                                          Suffix (Sr., Jr., II, Ill)




2. All other names you
   have used in the last 8           First name                                                          First name
   years
   Include your married or           Middle name                                                         Middle name
   maiden names.
                                     Last name                                                           Last name


                                     First name                                                          First name

                                     Middle name                                                         Middle name

                                     Last name                                                           Last name




3. Only the last 4 digits of
                                    xxx       — xx —              9     8      2      1                  xxx      — xx —
   your Social Security
   number or federal                OR                                                                   OR
   Individual Taxpayer
   Identification number             9 xx — xx                                                           9 xx — xx
   (ITIN)

Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                         page 1
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Debtor 1     LAMARCUS M. DAVIS                                                                         Case number o(known)
             First Name   Middle Name                Last Name




                                        About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
   and Employer                         Wi I have not used any business names or EINs.                       0      I have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years                     Business name                                                        Business name

    Include trade names and
    doing business as names             Business name                                                        Business name



                                        EIN                                                                  EIN


                                        EIN                                                                  EIN




6. Where you live                                                                                            If Debtor 2 lives at a different address:



                                        827 SHADOW LAKE DRIVE
                                        Number Street                                                        Number          Street




                                        LITHONIA                                 GA        30058
                                        City                                     State    ZIP Code           City                                     State     ZIP Code

                                        DEKALB COUNTY
                                        County                                                               County

                                        If your mailing address is different from the one                    If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send                yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                          any notices to this mailing address.



                                        Number          Street                                               Number          Street


                                        P.O. Box                                                             P.O. Box


                                        City                                     State    ZIP Code           City                                     State     ZIP Code




6. Why you are choosing                 Check one:                                                           Check one:
   this district to file for
                                        0      Over the last 180 days before filing this petition, I         0      Over the last 180 days before filing this petition, I
   bankruptcy
                                               have lived in this district longer than in any other                 have lived in this district longer than in any other
                                               district.                                                            district.

                                        0 I have another reason. Explain.                                    0      I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                              (See 28 U.S.C. § 1408.)




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                            page 2
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Debtor 1     LAMARCUS M. DAVIS                                                                    Case number or known)
             First Name   Middle Name                 Last Name




Part 2:    Tell the Court About Your Bankruptcy Case


7. The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
   Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   are choosing to file
                                        •       Chapter 7
   under
                                        O Chapter 11

                                        O Chapter 12

                                        O Chapter 13


8. How you will pay the fee             WI I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                        U I need to pay the fee in installments. If you choose this option, sign and attach the Application
                                          for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                        U I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                          By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                          less than 150% of the official poverty line that applies to your family size and you are unable to
                                          pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                          Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9. Have you filed for                       0 No
   bankruptcy within the
   last 8 years?                            0   Yes. District                             When                       Case number
                                                                                                  MM/ DD / YYYY
                                                      District                            When                       Case number
                                                                                                  MM/ DD / YYYY
                                                      District                            When                       Case number
                                                                                                  MM/ DD / YYYY



io. Are any bankruptcy                  O No
    cases pending or being
    filed by a spouse who is                O Yes. Debtor                                                             Relationship to you
    not filing this case with                         District                            When                       Case number, if known
    you, or by a business                                                                        MM/DO / YYYY
    partner, or by an
    affiliate?
                                                      Debtor                                                          Relationship to you
                                                      District                            When                        Case number, if known
                                                                                                  MM / DD / YYYY


11. Do you rent your                        0 No. Go to line 12.
    residence?                              0 Yes. Has your landlord obtained an eviction judgment against you?

                                                      O No. Go to line 12.
                                                      O Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                        part of this bankruptcy petition.




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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    Debtor 1      LAMARCUS M. DAVIS                                                                        Case number W known)
                 First Name        Middle Name             Last Name




    Part 3:    Report About Any Businesses You Own as a Sole Proprietor


}, 12. Are you a sole proprietor                 0 No. Go to Part 4.
       of any full- or part-time
       business?                                 0 Yes. Name and location of business
       A sole proprietorship is a
       business you operate as an
                                                          Name of business, if any
       individual, and is not a
       separate legal entity such as
       a corporation, partnership, or
       LLC.                                               Number       Street

       If you have more than one
       sole proprietorship, use a
       separate sheet and attach it
       to this petition.
                                                           City                                                    State          ZIP Code


                                                          Check the appropriate box to describe your business:
                                                          O Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                          O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                          O Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                          O Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          O None of the above


    13. Are you filing under                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
        Chapter 11 of the                        can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
        Bankruptcy Code and                      most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
        are you a small business
        debtor?
                                                 Z1 No.   I am not filing under Chapter 11.
       For a definition of small
       business debtor, see                         No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
       11 U.S.C. § 101(51D).                            the Bankruptcy Code.

                                                 CI Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                          Bankruptcy Code.


    Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


    14. Do you own or have any                   0 No
1       property that poses or is
i       alleged to pose a threat                 0 Yes. What is the hazard??
        of imminent and
        identifiable hazard to
        public health or safety?
        Or do you own any
        property that needs
                                                           If immediate attention is needed, why is it needed?
        immediate attention?
       For example, do you own
       perishable goods, or livestock
       that must be fed, or a building
       that needs urgent repairs?
                                                           Where is the property??
                                                                                     Number       Street




                                                                                     City                                             State   ZIP Code


    Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                 page 4
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Debtor 1       LAMARCUS M. DAVIS                                                                        Case number ofknownt
              First Name     Middle Name            Last Name




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
is. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                 You must check one:
    counseling.                                                                                                O I received a briefing from an approved credit
                                              I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you              O I received a briefing from an approved credit                    U I received a briefing from an approved credit
    cannot do so, you are not                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                                                                                           filed this bankruptcy petition, but I do not have a
                                             filed this bankruptcy petition, but I do not have a
                                             certificate of completion.                                         certificate of completion.
    If you file anyway, the court                                                                                 Within 14 days after you file this bankruptcy petition,
                                              Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you                                                                                    you MUST file a copy of the certificate and payment
                                              you MUST file a copy of the certificate and payment
    will lose whatever filing fee                                                                                 plan, if any.
                                              plan, if any.
    you paid, and your creditors
    can begin collection activities        O I certify that I asked for credit counseling                      O I certify that I asked for credit counseling
    again.                                   services from an approved agency, but was                           services from an approved agency, but was
                                             unable to obtain those services during the 7                        unable to obtain those services during the 7
                                             days after I made my request, and exigent                           days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                             of the requirement.                                                 of the requirement.
                                              To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                              required you to file this case.                                     required you to file this case.
                                              Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                        You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                              may be dismissed.                                                    may be dismissed.
                                              Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                              days.                                                                days.

                                           O I am not required to receive a briefing about                     O I am not required to receive a briefing about
                                             credit counseling because of:                                       credit counseling because of:

                                              U Incapacity.      I have a mental illness or a mental               O incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                             deficiency that makes me
                                                                 incapable of realizing or making                                     incapable of realizing or making
                                                                 rational decisions about finances.                                   rational decisions about finances.
                                              O Disability.      My physical disability causes me                  O Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                     to be unable to participate in a
                                                                 briefing in person, by phone, or                                     briefing in person, by phone, or
                                                                 through the Internet, even after I                                   through the Internet, even after I
                                                                 reasonably tried to do so.                                           reasonably tried to do so.
                                              O Active duty. I am currently on active military                     0 Active duty.     I am currently on active military
                                                                 duty in a military combat zone.                                      duty in a military combat zone.

                                              If you believe you are not required to receive a                     If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court. 1




Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                           page 5
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    Debtor 1      LAMARCUS M. DAVIS                                                                    Case number Of known)
                 First Name    Middle Name             Last Name




    Part 6:    Answer These Questions for Reporting Purposes

1                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
  16. What kind of debts do                       as "incurred by an individual primarily for a personal, family, or household purpose."
'     you have?
                                                  O No. Go to line 16b.
                                                  O Yes. Go to line 17.

                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                  money for a business or investment or through the operation of the business or investment.

                                                  O No. Go to line 16c.
                                                  O Yes. Go to line 17.

                                             16c. State the type of debts you owe that are not consumer debts or business debts.



    17. Are you filing under
        Chapter 7?                           LI No. I am not filing under Chapter 7.

        Do you estimate that after 0 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
        any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
        excluded and                      O No
        administrative expenses
        are paid that funds will be       O Yes
        available for distribution
        to unsecured creditors?

    18. How many creditors do                al 1-49
        you estimate that you                LI 50-99
        owe?                                 O 100-199
                                             U 200-999

    19. How much do you                      al $0-$50,000
        estimate your assets to              • $50,001-$100,000
        be worth?                            • $100,001-$500,000
                                             O $500,001-$1 million

    20. How much do you                      •   $0-$50,000
        estimate your liabilities            •   $50,001-$100,000
        to be?                               •   $100,001-$500,000
                                             •   $500,001-$1 million

Oa             Sign Below

                                             I have examined this petition, and I declare under penalty of perjury that the information provided is true and
    For you                                  correct.
                                             If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of
                                             title 11, United States Code. I understand the relief available under each chapter 7, and I choose to proceed under
                                             Chapter 7.
                                             If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                             this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                             I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                             I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                             with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                             18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                 Signature of Debtor 1                                          Signature of Debtor 2

                                                 Executed on                                                    Executed on
                                                                   roto I DD / YYYY                                            MM I DD     / YYYY


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Debtor 1     LAMARCUS M. DAVIS                                                             Case number If known)
             First Name   Middle Name          Last Name




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                   should understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.

                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                        CI No
                                        VI Yes

                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                        CI No
                                        0 Yes

                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                        0 No
                                        CI Yes. Name of Person
                                                Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorn y may cause me to lose my rights or property if I do not properly handle the case.



                                               oLrnau_k___
                                         Signature of Debtor 1)2_                                    Signature of Debtor 2

                                        Date               1/   a)         21)   q                   Date
                                                           MM/DD      / YYYY                                         MM/     DD / YYYY

                                        Contact phone       954-661-0563                             Contact phone

                                        Cell phone          954-661-0563                             Cell phone

                                        Email address DAVIS_LAMARCUS@YAHOO.COM                       Email address



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   Fill in this information to identify your case:


   Debtor 1          LAMARCUS M. DAVIS
                        First Name                 Middle Name            Last Name

   Debtor 2
   (Spouse, if filing) First Name                  Middle Name            Last Name


   United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

   Case number
   (If known)                                                                                                                          0 Check if this is an
                                                                                                                                          amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/19

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        0 Married
        14 Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?

        Li No
        Wi Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                             Dates Debtor 1    Debtor 2:                                            Dates Debtor 2
                                                                     lived there                                                            lived there


                                                                                       0 Same as Debtor 1                                  0 Same as Debtor 1
                 6355 OAKLEY ROAD                                    From   2017                                                               From
                 Number              Street                                               Number Street
                                                                     To     2018                                                               To
                 APT 810

                 UNION CITY                   GA        30291
                 City                         State ZIP Code                               City                     State ZIP Code

                                                                                       O Same as Debtor 1                                  0   Same as Debtor 1

                9388 NW 54TH STREET                                  From   2000                                                               From
                 Number              Street                                               Number Street
                                                                     To     2017                                                               To



                SUNRISE                       FL        33351
                 City                         State ZIP Code                               City                     State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
             No
        0    Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



   Part 2: Explain the Sources of Your Income

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 1
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Debtor 1          LAMARCUS M. DAVIS                                                                         Case number ofknovm)
                  First Name     Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     •      No
     •      Yes. Fill in the details.

                                                                   1,'11

                                                             Sources of income           Gross income                 Sources of Income            Gross income
                                                             Check all that apply.       (before deductions and       Check all that apply.        (before deductions and
                                                                                         exclusions)                                               exclusions)

                                                                  Wages, commissions,                                 O     Wages, commissions,
             From January 1 of current year until
                                                                  bonuses, tips
                                                                                                           14303            bonuses, tips
             the date you filed for bankruptcy:
                                                             O    Operating a business                                O     Operating a business


             For last calendar year:
                                                                  Wages, commissions,                                 CI    Wages, commissions,
                                                                  bonuses, tips                            23353            bonuses, tips
             (January 1 to December 31,        2018          O    Operating a business                                O     Operating a business
                                               YYYY


                                                             •    Wages, commissions,                                 •     Wages, commissions,
             For the calendar year before that:
                                                                  bonuses, tips                                             bonuses, tips
                                               2017                                                        23784
             (January 1 to December 31,                      0    Operating a business                                O     Operating a business
                                               YYYY



  5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           ' No
     O Yes. Fill in the details.



                                                             Sources of income               Gross income from            Sources of Income        Gross income from
                                                             Describe below.                 each source                  Describe below.          each source
                                                                                             (before deductions and                                (before deductions and
                                                                                             exclusions)                                           exclusions)



              From January 1 of current year until
              the date you filed for bankruptcy:




              For last calendar year:                                                    $                                                         $
              (January 1 to December 31,         2018)                                   $                                                         $
                                               YYYY
                                                                                         $                                                         $


              For the calendar year before that:                                         $                                                         $
              (January 1 to December 31,         2017 )                                  $                                                         $
                                               YYYY
                                                                                         $                                                         $




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
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Debtor 1       LAMARCUS M. DAVIS                                                                   Case number (if known)
               First Name        Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     El NO. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
            "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               O No. Go to line 7.

               O Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                      total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     0     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               0    No. Go to line 7.

               U Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                      creditor. Do not include payments for domestic support obligations, such as child support and
                      alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                         Dates of    Total amount paid         Amount you still owe   Was this payment for...
                                                                         payment


                                                                                                                                         Mortgage
                      Creditor's Name
                                                                                                                                      U Car

                       Number    Street                                                                                               0 Credit card
                                                                                                                                      U Loan repayment
                                                                                                                                      U Suppliers or vendors

                       City                    State        ZIP Code
                                                                                                                                      El Other



                                                                                                                                      1:1 Mortgage
                       Creditor's Name
                                                                                                                                      1:1 Car

                       Number    Street
                                                                                                                                      1:1 Credit card
                                                                                                                                      LI Loan repayment
                                                                                                                                      0 Suppliers or vendors
                                                                                                                                      1:1 Other
                       City                    State        ZIP Code




                                                                                                                                         Mortgage
                       Creditor's Name
                                                                                                                                      LI Car
                       Number    Street
                                                                                                                                      LI Credit card
                                                                                                                                      LI Loan repayment
                                                                                                                                      El Suppliers or vendors

                       City                    State        ZIP Code
                                                                                                                                      0 Other



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Debtor 1           LAMARCUS M. DAVIS                                                                  Case number ofknown)
                   First Name       Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     0     No
     U Yes. List all payments to an insider.
                                                                         Dates of     Total amount       Amount you still    Reason for this payment
                                                                         payment      paid               owe



            Insider's Name



            Number        Street




            City                                  State   ZIP Code




            Insider's Name


            Number        Street




            City                                  State   ZIP Code



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     0     No
     U Yes. List all payments that benefited an insider.
                                                                        Dates of       Total amount      Amount you still    Reason for this payment
                                                                        payment        paid              OWO
                                                                                                                             Include creditors name


            Insider's Name



            Number         Street




            City                                  State   ZIP Code




            Insiders Name



            Number         Street




            City                                  State   ZIP Code




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                                                                         Petition Page 12 of 64

Debtor 1         LAMARCUS M. DAVIS                                                                           Case number (irknown)
                First Name            Middle Name           Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

           No
     121 Yes. Fill in the details.
                                                                   Nature of the case                   Court or agency                                  Status of the case

                                                                  DEBT COLLECTION                      FULTON COUNTY COURT                                rit
            Case title                                            ACTION                                                                                 *Ai Pending
                                                                                                      Court Name
                                                                                                                                                         O On appeal
            CARMAX V. LAMARCUS M. DAVIS                                                                555 GLENRIDGE CONNECTOR SI
                                                                                                      Number     Street                                  0   Concluded

            Case number       18EV002700                                                               ATLANTA                        GA       30342
                                                                                                      City                    State    ZIP Code




            Case title                                                                                                                                   O Pending
                                                                                                      Court Name
                                                                                                                                                         O On appeal

                                                                                                      Number     Street                                  O Concluded

            Case number
                                                                                                      City                    State    ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     21 No. Go to line 11.
     CI    Yes. Fill in the information below.

                                                                             Describe the property                                      Date           Value of the property



                 Creditor's Name



                 Number      Street                                          Explain what happened

                                                                             O    Property was repossessed.
                                                                             O    Property was foreclosed.
                                                                             O    Property was garnished.
                 City                               State   ZIP Code         U    Property was attached, seized, or levied.

                                                                             Describe the property                                      Date            Value of the propertl




                 Creditor's Name



                 Number      Street
                                                                             Explain what happened

                                                                                  Property was repossessed.
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.




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Debtor 1            LAMARCUS M. DAVIS                                                                      Case number (if known)
                    First Name     Middle Name             Last Name




     11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
1        accounts or refuse to make a payment because you owed a debt?
             No
        O Yes. Fill in the details.

                                                                   Describe the action the creditor took                            Date action      Amount
                                                                                                                                    was taken
             Creditor's Name



             Number      Street




             City                           State   ZIP Code       Last 4 digits of account number: XXXX-


     12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
         creditors, a court-appointed receiver, a custodian, or another official?
        RI No




al
        O Yes

                    List Certain Gifts and Contributions


     13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         •   No
        CI   Yes. Fill in the details for each gift.


              Gifts with a total value of more than $600           Describe the gifts                                               Dates you gave      Value
              per person                                                                                                            the gifts




             Person to Whom You Gave the Gift




             Number      Street



             City                           State   ZIP Code


             Person's relationship to you


             Gifts with a total value of more than $600            Describe the gifts                                               Dates you gave     Value
             per person                                                                                                             the gifts



             Person to Whom You Gave the Gift




             Number      Street



             City                           State   ZIP Code


             Person's relationship to you


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Debtor 1             LAMARCUS M. DAVIS                                                                        Case number (ifwiown)
                     First Name      Middle Name          Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

          No
        U Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                 Describe what you contributed                                         Date you           Value
             that total more than $600                                                                                                 contributed




            Charity's Name




            Number        Street




            City            State      ZIP Code




                     List Certain Losses


  15.   Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
        disaster, or gambling?

        g No
        U Yes. Fill in the details.

             Describe the property you lost and                   Describe any insurance coverage for the loss                         Date of your       Value of property
             how the loss occurred                                                                                                     loss               lost
                                                                  Include the amount that insurance has paid. List pending insurance
                                                                  claims on line 33 of Schedule AB: Properly.




                   List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
      you consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

        • No
        U Yes. Fill in the details.

                                                                  Description and value of any property transferred                    Date payment or    Amount of payment
                                                                                                                                       transfer was
             Person Who Was Paid
                                                                                                                                       made


              Number        Street




              City                        State    ZIP Code



              Email or website address


              Person Who Made the Payment, if Not You



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Debtor 1           LAMARCUS M. DAVIS                                                                         Case number i v known)
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                 Date payment or      Amount of
                                                                                                                                      transfer was made    payment


           Person Who Was Paid



           Number        Street




           City                         State    ZIP Code




           Email or websi(e address



           Person Who Made the Payment, if Not You



 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     •     No
     O Yes. Fill in the details.

                                                                    Description and value of any property transferred                 Date payment or     Amount of payment
                                                                                                                                      transfer was
                                                                                                                                      made
            Person Who Was Paid



            Number        Street




            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     121 No
     O Yes. Fill in the details.

                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid in exchange                       was made

           Person Who Received Transfer



           Number        Street




           City                         State    ZIP Code


           Person's relationship to you


           Person Who Received Transfer



           Number        Street




           City                         State    ZIP Code

           Person's relationship to you

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                                                                        Petition Page 16 of 64

Debtor 1           LAMARCUS M. DAVIS                                                                      Case number Of known)
                   First Name      Middle Name          Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     •     No
     U Yes. Fill in the details.

                                                                Description and value of the property transferred                                           Date transfer
                                                                                                                                                            was made


           Name of trust




  Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     Lit No
     U Yes. Fill in the details.

                                                                Last 4 digits of account number     Type of account or            Date account was       Last balance before
                                                                                                    instrument                    closed, sold, moved,   closing or transfer
                                                                                                                                  or transferred

            Name of Financial Institution
                                                                                                     U Checking

            Number        Street
                                                                                                     U Savings
                                                                                                     U Money market
                                                                                                        Brokerage
            City                        State    ZIP Code
                                                                                                     U Other


                                                                                                     U Checking
            Name of Financial institution
                                                                                                     U Savings

            Number        Street                                                                     U Money market
                                                                                                     U Brokerage
                                                                                                     U Other
            City                        State    ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
     g     No
     U Yes. Fill in the details.
                                                                    Who else had access to it?                  Describe the contents                           Do you still
                                                                                                                                                                have it?

                                                                                                                                                                LI No
            Name of Financial institution                                                                                                                       U Yes
                                                                Name


            Number        Street                                Number     Street


                                                                City         State     ZIP Code

            City                        State    ZIP Code



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Debtor 1           LAMARCUS M. DAVIS                                                                                   Case number (if known)
                   First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     El No
     CI Yes. Fill in the details.
                                                                    Who else has or had access to it?                        Describe the contents          Do you still
                                                                                                                                                            have it?

                                                                                                                                                             U No
            Name of Storage Facility                                Name
                                                                                                                                                             U Yes

            Number       Street                                     Number    Street


                                                                    CityState ZIP Code

            City                        State     ZIP Code



                     Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold In trust for someone.
      uf No
     U Yes. Fill In the details.
                                                                    Where is the property?                                   Describe the property       Value


            Owner's Name

                                                                  Number     Street
            Number        Street



                                                                  City                            State     ZIP Code
            City                        State     ZIP Code

 Part 10:            Give Details About Environmental information

 For the purpose of Part 10, the following definitions apply:
 •   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 •   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

 •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or In violation of an environmental law?

     It No
     U Yes. Fill in the details.
                                                                    Governmental unit                           Environmental law, if you know It       Date of notice



           Name of site                                            Governmental unit


           Number       Street                                     Number    Street


                                                                   City                  State   ZIP Code



           City                        State     ZIP Code



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Debtor 1       LAMARCUS M. DAVIS                                                                                  Case number (if known)
                   First Name      Middle Name          Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     g No
     U Yes. Fill in the details.
                                                               Governmental unit                              Environmental law, if you know it                    Date of notice



            Name of site                                      Governmental unit


            Number        Street                              Number    Street



                                                              City                 State    ZIP Code


            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     El No
     U Yes. Fill In the details.
                                                                                                                                                                    Status of the
                                                                Court or agency                                    Nature of the case
                                                                                                                                                                    case

           Case title
                                                                                                                                                                    U Pending
                                                                Court Name
                                                                                                                                                                    U On appeal
                                                                Number    Street                                                                                    U Concluded


           Case number                                          City                       State   ZIP Code



                     Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
        U A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
        U A member of a limited liability company (LLC) or limited liability partnership (LLP)
        U A partner in a partnership
        U An officer, director, or managing executive of a corporation
           U An owner of at least 5% of the voting or equity securities of a corporation

     Lif No. None of the above applies. Go to Part 12.
     U Yes. Check all that apply above and fill in the details below for each business.
                                                                Describe the nature of the business                               Employer Identification number
                                                                                                                                  Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                  EIN:
            Number        Street
                                                                Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                  From                To
            City                        State    ZIP Code
                                                                Describe the nature of the business                               Employer Identification number
                                                                                                                                  Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                  EIN:
            Number        Street
                                                                Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                  From                To
            City                        State    ZIP Code


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Debtor 1        LAMARCUS M. DAVIS                                                                        Case number urknotwn
                   First Name      Middle Name          Last Name




                                                                                                                        Employer Identification number
                                                                Describe the nature of the business
                                                                                                                        Do not include Social Security number or ITIN.
            Business Name
                                                                                                                        EIN:

            Number        Street
                                                                Name of accountant or bookkeeper                        Dates business existed



                                                                                                                        From                To
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

           No
     0     Yes. Fill in the details below.

                                                                Date issued



            Name                                                MM / DD / YYYY



            Number        Street




            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



       X                   olmoL,C4A-
            Signature of Debtor 1                                                Signature of Debtor 2


            Date           I I - 12.-    20 it%                                  Date
      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

             No
             Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      21 No
      U Yes. Name of person                                                                                    . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                 Declaration, and Signature (Official Form 119).




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    Fill in this information to identify your case and this filing:


    Debtor 1          LAMARCUS M. DAVIS
                         First Name                  Middle Name               Last Name

    Debtor 2
    (Spouse, if filing) First Name                   Middle Name               Last Name

                                                 NORTHERN DISTRICT OF GEORGIA
    United States Bankruptcy Court for the:

    Case number
                                                                                                                                                D Check if this is an
                                                                                                                                                    amended filing

    Official Form 106A/B

    Schedule A/B: Property                                                                                                                                      12/15

    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
    category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
    responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write your name and case number (if known). Answer every question.

    Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

s 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
1
        WI   No. Go to Part 2.
        0    Yes. Where is the property?
                                                                         What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                         O    Single-family home                           the amount of any secured claims on Schedule D:
          1.1.                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                         O    Duplex or multi-unit building
                  Street address, if available, or other description
                                                                         O Condominium or cooperative                      Current value of the     Current value of the
                                                                         O    Manufactured or mobile home                  entire property?         portion you own?
                                                                         O    Land
                                                                         O    Investment property
                                                                         O    Timeshare                                    Describe the nature of your ownership
                  City                            State     ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                         O    Other                                        the entireties, or a life estate), if known.
                                                                         Who has an interest in the property? Check one.
                                                                         CI Debtor 1 only
                  County                                                 CI Debtor 2 only
                                                                         CI Debtor 1 and Debtor 2 only                     U Check if this is community property
                                                                                                                              (see instructions)
                                                                         0 At least one of the debtors and another
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:
        If you own or have more than one, list here:
                                                                        What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                        U    Single-family home                            the amount of any secured claims on Schedule D:
          1.2.                                                                                                             Creditors Who Have Claims Secured by Property.    ,
                                                                        U    Duplex or multi-unit building
                  Street address, if available, or other description
                                                                        CI   Condominium or cooperative                    Current value of the     Current value of the ;
                                                                        U    Manufactured or mobile home                   entire property?         portion you own?
                                                                        U    Land
                                                                        U    Investment property
                                                                        U    Timeshare
                                                                                                                           Describe the nature of your ownership
                  City                            State      ZIP Code                                                      Interest (such as fee simple, tenancy by
                                                                        U    Other                                         the entireties, or a life estate), if known.
                                                                        Who has an interest in the property? Check one
                                                                        0 Debtor 1 only
                  County                                                0 Debtor 2 only
                                                                        D Debtor 1 and Debtor 2 only                          Check if this is community property
                                                                        U At least one of the debtors and another             (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:


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  Debtor 1            LAMARCUS M. DAVIS                                                                        Case number of known)
                      First Name     Middle Name            Last Name




                                                                        What is the property? Check all that apply.               Do not deduct secured claims or exemptions. Put
                                                                        O    Single-family home                                   the amount of any secured claims on Schedule D:
        1.3.                                                                                                                      Creditors Who Have Claims Secured by Property.
               Street address, if available, or other description       LI Duplex or multi-unit building
                                                                        1:1 Condominium or cooperative                            Current value of the       Current value of the
                                                                                                                                  entire property?           portion you own?
                                                                        LI Manufactured or mobile home
                                                                        LI   Land
                                                                        O    Investment property
               City                            State      ZIP Code      0    Timeshare
                                                                                                                                  Describe the nature of your ownership
                                                                                                                                  interest (such as fee simple, tenancy by
                                                                        O    Other                                                the entireties, or a life estate), if known.
                                                                        Who has an interest in the property? Check one.
                                                                        0 Debtor 1 only
               County
                                                                             Debtor 2 only
                                                                             Debtor 1 and Debtor 2 only                           LI Check if this is community property
                                                                                                                                       (see instructions)
                                                                        0 At least one of the debtors and another
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:


i 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                        0.00
     you have attached for Part 1. Write that number here.                                                                                           4




allil            Describe Your Vehicles


 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


  . Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
           No
     Li Yes


               Make:                                                    Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
        3.1.
                                                                                                                                  the amount of any secured claims on Schedule D:
                                                                             Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
               Model:
                                                                             Debtor 2 only
               Year:                                                                                                              Current value of the       Current value of the
                                                                             Debtor 1 and Debtor 2 only
               Approximate mileage:
                                                                                                                                  entire property?           portion you own? '
                                                                             At least one of the debtors and another
                Other information:
                                                                        U Check if this is community property (see
                                                                             instructions)



     If you own or have more than one, describe here:

        3.2.   Make:                                                    Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
               Model:                                                   IJ Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                                        U Debtor 2 only
               Year:                                                                                                              Current value of the       Current value of the ,
                                                                        LI Debtor 1 and Debtor 2 only
                                                                                                                                  entire property?           portion you own?
               Approximate mileage:                                          At least one of the debtors and another
               Other information:
                                                                        U Check if this is community property (see
                                                                             instructions)




  Official Form 106AJB                                                   Schedule A/B: Property                                                                     page 2
               Case 19-68764-lrc               Doc 1             Filed 11/22/19 Entered 11/22/19 08:39:09                                     Desc
                                                                 Petition Page 22 of 64
Debtor 1       LAMARCUS M. DAVIS                                                                     Case number f known>
               First Name       Middle Name        Last Name




           Make:                                               Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    3.3.
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:                                              0 Debtor 1 only                                         Creditors Who Have Claims Secured by Properly.
                                                               0 Debtor 2 only
           Year:                                                                                                       Current value of the      Current value of the
                                                               LI Debtor 1 and Debtor 2 only                           entire property?          portion you own?
           Approximate mileage:                                CI At least one of the debtors and another
           Other information:
                                                               0 Check if this is community property (see
                                                                  instructions)


           Make:                                               Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    3.4.
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:                                              0 Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                               0 Debtor 2 only
           Year:                                                                                                       Current value of the      Current value of the
                                                               0 Debtor 1 and Debtor 2 only                            entire property?          portion you own?
           Approximate mileage:                                0 At least one of the debtors and another
           Other information:
                                                               0 Check if this is community property (see
                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
    WI No
    0 Yes

           Make:                                               Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    4.1.
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:                                              0 Debtor 1 only                                         Creditors Who Have Claims Secured by Properly.
                                                               0 Debtor 2 only
           Year:
                                                                  Debtor 1 and Debtor 2 only                           Current value of the      Current value of the
           Other information:                                  0 At least one of the debtors and another               entire property?          portion you own?


                                                               0 Check if this is community property (see
                                                                  instructions)



    If you own or have more than one, list here:

           Make:                                               Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    4.2.
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:
                                                               0 Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                               0 Debtor 2 only
           Year:                                                                                                       Current value of the      Current value of the
                                                               0 Debtor 1 and Debtor 2 only                            entire property?          portion you own?
           Other information:                                  0 At least one of the debtors and another

                                                               U Check if this is community property (see
                                                                 instructions)




5   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                              0.00
    you have attached for Part 2. Write that number here                                                                                  4




Official Form 106A/B                                            Schedule A/B: Property                                                                   page 3
                Case 19-68764-lrc                Doc 1       Filed 11/22/19 Entered 11/22/19 08:39:09                          Desc
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  Debtor 1      LAMARCUS M. DAVIS                                                                Case number of known)
                First Name    Middle Name        Last Name




 Part 3:     Describe Your Personal and Household Items

                                                                                                                            Current value of the
 Do you own or have any legal or equitable interest in any of the following items?                                          portion you own?
                                                                                                                            Do not deduct secured claims
                                                                                                                            or exemptions.

 6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
     O No
     O Yes. Describe          BED, BEDDING, COOKING UTENSILS, EATING UTENSILS, MICROWAVE,                                                      300.00
                              PICTURE FRAMES, AND TOWELS
 7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
              collections; electronic devices including cell phones, cameras, media players, games
     O No
     O Yes. Describe          COMPUTER, SMA.RTPHONE, AND TV                                                                                    500.00

 8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
     O No
     O Yes. Describe                                                                                                                               0.00

 6. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
               and kayaks; carpentry tools; musical instruments
     O No
     O Yes. Describe                                                                                                                               0.00

 10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     O No
     O Yes. Describe                                                                                                                               0.00

 11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     O No
     O Yes. Describe           ALL CLOTHES AND FOOTWEAR                                                                                        300.00


k 12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
               gold, silver
     O No
     O Yes. Describe          NON-WEDDING RING AND WATCHES                                                                                      50.00

 13. Non-farm animals
     Examples: Dogs, cats, birds, horses

     O No
     O Yes. Describe                                                                                                                               0.00

 14 Any other personal and household items you did not already list, including any health aids you did not list

     O No
     O Yes. Give specific                                                                                                                          0.00
       information.

1 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                              1150.00
      for Part 3. Write that number here



  Official Form 106A/B                                       Schedule NB: Property                                                        page 4
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Debtor 1       LAMARCUS M. DAVIS                                                              Case number (if known)
               First Name    Middle Name          Last Name




Part 4:      Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   •   No
   0   Yes                                                                                                    Cash:                                 350.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.
   U No
   O Yes                                                      Institution name:


                             17.1. Checking account:           USAA                                                                                  150.00
                             17.2. Checking account:           NAVY FEDERAL                                                                          350.00
                             17.3. Savings account:            USAA                                                                                  238.00
                             17.4. Savings account:            NAVY FEDERAL                                                                             0.00
                             17.5. Certificates of deposit:

                             17.6. Other financial account:

                             17.7. Other financial account:

                             17.8. Other financial account:

                             17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   O No
   ▪   Yes                   Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

   0   No                    Name of entity:                                                                  % of ownership:
   U Yes. Give specific
     information about
     them




Official Form 106A/B                                          Schedule A/B: Property                                                              page 5
              Case 19-68764-lrc                    Doc 1        Filed 11/22/19 Entered 11/22/19 08:39:09                          Desc
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Debtor 1       LAMARCUS M. DAVIS                    Last Name
                                                                                                Case number (if known)
               First Name    Middle Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   O No
       Yes. Give specific    Issuer name:
       information about
       them




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   •   No
   O Yes. List each
     account separately.     Type of account:          Institution name: ,

                             401(k) or similar plan:    FIDELITY BANK                                                                      500.00

                             Pension plan:

                             IRA:

                             Retirement account:

                             Keogh:

                             Additional account:

                             Additional account:



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

       No
   U Yes                                           Institution name or individual:
                             Electric:

                             Gas:

                             Heating oil:

                             Security deposit on rental unit:

                             Prepaid rent:

                              Telephone:

                              Water:

                             Rented furniture:

                              Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   O No
   U Yes                      Issuer name and description:




Official Form 106A/B                                            Schedule A/B: Property                                                   page 6
                     Case 19-68764-lrc                  Doc 1        Filed 11/22/19 Entered 11/22/19 08:39:09                                    Desc
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    Debtor 1           LAMARCUS M. DAVIS                                                                Case number (/ known)
                      First Name    Middle Name          Last Name




    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
         26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
          0    No
          0    Yes                           Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c)




    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
;       exercisable for your benefit

          O No
          CI   Yes. Give specific
               information about them....


    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
          O No
          •    Yes. Give specific
               information about them....


    27. Licenses,   franchises, and other general intangibles
          Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          0 No
          O Yes. Give specific
            information about them....                                                                                                                              0.00


    Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.

    28. Tax    refunds owed to you
          O No
          O Yes. Give specific information                                                                                  Federal:                         2000.00
                 about them, including whether
                 you already filed the returns                                                                              State:
                 and the tax years.
                                                                                                                            Local:



    29.   Family support
          Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
          O No
          1:1 Yes. Give specific information
                                                                                                                        Alimony:

                                                                                                                        Maintenance:

                                                                                                                        Support:

                                                                                                                        Divorce settlement:

                                                                                                                        Property settlement:

    30.   Other amounts someone owes you
          Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                    Social Security benefits; unpaid loans you made to someone else
          O No
          CI   Yes. Give specific information
                                                                                                                                                                     0.00


    Official Form 106A/B                                             Schedule A/B: Property                                                                page 7
                Case 19-68764-lrc                    Doc 1        Filed 11/22/19 Entered 11/22/19 08:39:09                                            Desc
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  Debtor 1       LAMARCUS M. DAVIS                                                                       Case number Of known)
                 First Name     Middle Name           Last Name




 31. Interests in insurance policies
     Examples: Health, disability, or life insurance;health savings account (HSA);credit, homeowner's, or renter's insurance
    O No
    O Yes. Name the insurance company            Company name:                                              Beneficiary:                              Surrender or refund value:   ;
           of each policy and list its value....




 32. Any interest in property that Is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
     property because someone has died.
    O No
     O Yes. Give specific information
                                                                                                                                                                           0.00

 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
     O No
     O Yes. Describe each claim
                                                                                                                                                                           0.001

 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to set off claims
     O No
     O Yes. Describe each claim




 35. Any financial assets you did not already list

     O No
     O Yes. Give specific information



 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here                                                                                                    4                         3588.00



 Part 5:      Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business-related property?
     O No. Go to Part 6.
     D   Yes. Go to line 38.
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                    or exemptions.

; 38. Accounts receivable or commissions you already earned
     •   No
     O Yes. Describe


 39. Office equipment, furnishings, and supplies
     Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
     O No
     O Yes. Describe




  Official Form 106A/B                                            Schedule A/B: Property                                                                          page 8
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    Debtor 1         LAMARCUS M. DAVIS                                                       Case number of known)
                     First Name   Middle Name       Last Name




    40. Machinery, fixtures, equipment, supplies you use In business, and tools of your trade

       O No
       O Yes. Describe



    41. Inventory
         • No
       LI   Yes. Describe



; 42. Interests in partnerships or joint ventures
       1:1 No
       •    Yes. Describe         Name of entity:                                                              % of ownership:


                                                                                                                       %




    43. Customer lists, mailing lists, or other compilations
       1:1 No
       O Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                       No
                 0     Yes. Describe



    44. Any business-related property you did not already list
        O No
       •    Yes. Give specific
            information




    45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                         0
        for Part 5. Write that number here                                                                                  4


    Part 6:      Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an Interest in farmland, list it in Part 1.


, 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
'      I21 No. Go to Part 7.
       O Yes. Go to line 47.
                                                                                                                                 Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured claims
                                                                                                                                 or exemptions.
    47. Farm animals
       Examples: Livestock, poultry, farm-raised fish
       LI No
       O Yes




     Official Form 106A/B                                       Schedule AM: Property                                                         page 9
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Debtor 1       LAMARCUS M. DAVIS                                                          Case number (if known)
               First Name     Middle Name      Last Name




48. Crops—either growing or harvested
   LI No
   O Yes. Give specific
     information.

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   •   No
   O Yes



50. Farm and fishing supplies, chemicals, and feed
       No
   O Yes



51.Any farm- and commercial fishing-related property you did not already list
   CI No
   •   Yes. Give specific
       information.

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                 0.00
   for Part 6. Write that number here



             Describe All Property You Own or Have an Interest in That You Did Not List Above


53 Do you have other property of any kind you did not already list?
   Examples: Season tickets, country club membership

   la No
   O Yes. Give specific
     information.




54. Add the dollar value of all of your entries from Part 7. Write that number here                                     4                          0



             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2                                                                                       4$              0.00

56.Part 2: Total vehicles, line 5
                                                                                       0.00

57.Part 3: Total personal and household items, line 15
                                                                                    1150.00

58.Part 4: Total financial assets, line 36                                          3588.00

59.Part 5: Total business-related property, line 45
                                                                                         0

60.Part 6: Total farm- and fishing-related property, line 52                           0.00

61.Part 7: Total other property not listed, Ilne 54                   +$                 0

62.Total personal property. Add lines 56 through 61.                                4738.00   Copy personal property total 4     +$      4738.00


63.Total of all property on Schedule A/B. Add line 55 + line 62.
                                                                                                                                         4738.00



 Official Form 106A/B                                      Schedule A/B: Property                                                        page 10
                 Case 19-68764-lrc                      Doc 1       Filed 11/22/19 Entered 11/22/19 08:39:09                                       Desc
                                                                    Petition Page 30 of 64
 Fill in this information to identify your case:

 Debtor 1          LAMARCUS M. DAVIS
                     First Name                   Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                   Middle Name              Last Name

 United States Bankruptcy Court for the:        NORTHERN DISTRICT OF GEORGIA

 Case number                                                                                                                                       0 Check if this is an
 (II known)
                                                                                                                                                       amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                         04119

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      O You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      O You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on            Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
       Schedule A/B that lists this property                    portion you own
                                                                Copy the value from      Check only one box for each exemption.
                                                                Schedule A/B

      Brief                                                                                                                       Ga. Code Ann. § 44-13-100 (a)(4)
                              HOUSEHOLD GOODS                                   300.00      $           300.00
      description:
      Line from
                                                                                         0 100% of fair market value, up to
      Schedule A/B:           6                                                             any applicable statutory limit


      Brief                                                                     500.00                  500.00
                                                                                                                                  Ga. Code Ann. § 44-13-100 (a)(4)
                                  ELECTRONICS                                               $
      description:
      Line from               7
                                                                                         0 100% of fair market value, up to
      Schedule NB:                                                                          any applicable statutory limit

      Brief                                                                                             300.00
                                                                                                                                  Ga. Code Ann. § 44-13-100 (a)(4)
                                  CLOTHES                       $               300.00   El $
      description:
      Line from                                                                          0 100% of fair market value, up to
      Schedule A/B .              11                                                        any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
      O Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           O      No
           O      Yes



Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                                  page 1 of   8
             Case 19-68764-lrc                Doc 1        Filed 11/22/19 Entered 11/22/19 08:39:09                                       Desc
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Debtor 1      LAMARCUS M. DAVIS                                                                Case number (rt.own)
                             Middle Name       Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from      Check only one box for each exemption
                                                       Schedule A/B

     Brief            JEWELRY                                           50.00                   50.00                   Ga. Code Ann. § 44-13-100 (a)(6)
                                                                                   $
     description:
     Line from        12                                                        U 100% of fair market value, up to
     Schedule A/B:                                                                 any applicable statutory limit

     Brief            CASH                                             350.00      $           350.00                   Ga. Code Ann. § 44-13-100 (a)(6)
     description:
     Line from
                                                                                LI 100% of fair market value, up to
     Schedule NB:
                      16                                                           any applicable statutory limit


     Brief            USAA                                             150.00                  150.00                   Ga. Code Ann. § 44-13-100 (a)(6)
     description:                                                               if $
     Line from
                                                                                U 100% of fair market value, up to
                      17                                                           any applicable statutory limit
     Schedule NB:

     Brief            NAVY FEDERAL                                     350.00                  350.00                   Ga. Code Ann. § 44-13-100 (a)(6)
     description:                                                               if $
     Line from        17                                                        0 100% of fair market value, up to
     Schedule NB:                                                                   any applicable statutory limit

     Brief            USAA                                             238.00                  238.00
     description:                                                               if $                                    Ga. Code Ann. § 44-13-100 (a)(6)

     Line from
                                                                                0 100% of fair market value, up to
     Schedule NB:
                      17                                                            any applicable statutory limit


     Brief            NAVY FEDERAL                                       0.00                    0.00                   Ga. Code Ann. § 44-13-100 (a)(6)
     description:
     Line from
                                                                                0 100% of fair market value, up to
                      17                                                            any applicable statutory limit
     Schedule A/B:

     Brief            FIDELITY BANK                                    500.00                  500.00                   11 U.S.C. § 522(d)(10)
     description:                                                                   $
     Line from        21                                                        LI 100% of fair market value, up to     11 U.S.C. § 522(d)(12)
     Schedule NB:                                                                  any applicable statutory limit

     Brief            FEDERAL TAX REFUND                              2000.00                 2000.00
     description:                                                               Ei$                                     Ga. Code Ann. § 44-13-100 (a)(6)

     Line from
                                                                                U 100% of fair market value, up to
     Schedule NB:
                      28                                                            any applicable statutory limit


     Brief
     description:                                                                   $

     Line from
                                                                                0 100% of fair market value, up to
     Schedule A/B:                                                                  any applicable statutory limit

     Brief
     description:
     Line from
                                                                                0 100% of fair market value, up to
     Schedule A/B:                                                                  any applicable statutory limit

     Brief
     description:                                                                   $

     Line from
                                                                                0 100% of fair market value, up to
     Schedule NB:                                                                   any applicable statutory limit


     Brief
     description:                                                                   $

     Line from
                                                                                0 100% of fair market value, up to
     Schedule NB:                                                                   any applicable statutory limit



Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                    .page 2
                      Case 19-68764-lrc                 Doc 1         Filed 11/22/19 Entered 11/22/19 08:39:09                            Desc
                                                                      Petition Page 32 of 64

Fill in this information to identify your case:


Debtor 1              LAMARCUS M. DAVIS
                      First Name                Middle Name                  Last Name


Debtor 2
(Spouse, if filing)   First Name                Middle Name                  Last Name


United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

Case number
 (If known)                                                                                                                              CI Check if this is an
                                                                                                                                            amended filing



Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).


1. Do any creditors have claims secured by your property?
      121 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      0 Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                         Column A                , Column B               Colutno C
69.List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim          ,1 Value of collateral 1 Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the      ,, I that supports this   portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral.    , iclaim                 If any

2.1
                                                          Describe the property that secures the claim:
      Creditors Name


      Number            Street
                                                          As of the date you file, the claim is: Check all that apply.
                                                          O Contingent
                                                          •   Unliquidated
      City                         State   ZIP Code       O Disputed
  Who owes the debt? Check one.                           Nature of lien. Check all that apply.
  O Debtor 1 only                                         O An agreement you made (such as mortgage or secured
  O Debtor 2 only                                           car loan)
  O Debtor 1 and Debtor 2 only                            O Statutory lien (such as tax lien, mechanic's lien)
  O At least one of the debtors and another               O Judgment lien from a lawsuit
                                                          O Other (including a right to offset)
  O Check if this claim relates to a
    community debt
  Date debt was incurred                                  Last 4 digits of account number
2.2                                                       Describe the property that secures the claim:
      Creditors Name


      Number            Street
                                                          As of the date you file, the claim is: Check all that apply.
                                                          O Contingent
                                                          •   Unliquidated
      City                         State   ZIP Code       O Disputed
  Who owes the debt? Check one.                           Nature of lien. Check all that apply.
  O Debtor 1 only                                         O An agreement you made (such as mortgage or secured
  O Debtor 2 only                                             car loan)
  O Debtor 1 and Debtor 2 only                            1:1 Statutory lien (such as tax lien, mechanic's lien)
  O At least one of the debtors and another               O Judgment lien from a lawsuit
                                                          O Other (including a right to offset)
  O Check if this claim relates to a
    community debt
  Date debt was incurred                                  Last 4 digits of account number —        —    —     —
       Add the dollar value of your entries in Column A on this page. Write that number here:

                                                                                                                                                   page 1
 Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property
                      Case 19-68764-lrc                       Doc 1         Filed 11/22/19 Entered 11/22/19 08:39:09                     Desc
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  Fill in this information to identify your case:

  Debtor 1             LAMARCUS M. DAVIS
                        First Name                     Middle Name               Last Name

  Debtor 2
  (Spouse, if filing) First Name                       Middle Name               Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF
                                                               GEORGIA
                                                                                                                                        LI Check if this is an
  Case number
      (If known)
                                                                                                                                           amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                       12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
       NO. Go to Part 2.
    Ul Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
    (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       ; Total claim      Priority     Nonpriority
                                                                                                                                          amount       amount
2.1
                                                                        Last 4 digits of account number
          Priority Creditors Name
                                                                        When was the debt incurred?
          Number           Street

                                                                        As of the date you file, the claim is: Check all that apply,

                                                                        U    Contingent
          City                                 State    ZIP Code
                                                                        •    Unliquidated
          Who incurred the debt? Check one.                                  Disputed
                                                                        U
           ▪      Debtor 1 only
           ▪      Debtor 2 only                                         Type of PRIORITY unsecured claim:
           •      Debtor 1 and Debtor 2 only                            •    Domestic support obligations
          U At least one of the debtors and another                     U    Taxes and certain other debts you owe the government
           U Check if this claim is for a community debt                •    Claims for death or personal injury while you were
                                                                             intoxicated
          Is the claim subject to offset?
           U No                                                         U    Other. Specify

           U Yes
2.2
                                                                        Last 4 digits of account number
          Priority Creditors Name
                                                                        When was the debt incurred?

          Number            Street
                                                                        As of the date you file, the claim is: Check all that apply.

                                                                        O    Contingent
           City                                State    ZIP Code        •    Unliquidated
                                                                        O    Disputed
           Who incurred the debt? Check one.
           U Debtor 1 only
                                                                        Type of PRIORITY unsecured claim:
           U Debtor 2 only
                                                                        U    Domestic support obligations
           U Debtor 1 and Debtor 2 only
                                                                        O    Taxes and certain other debts you owe the government
           0 At least one of the debtors and another
                                                                        O    Claims for death or personal injury while you were
           ID Check if this claim is for a community debt                    intoxicated
           Is the claim subject to offset?                              ID Other. Specify
          1:1 No
          0 Yes

 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                             page 1
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 Debtor 1             LAMARCUS M. DAVIS                                  Petition Page 34 of 64
                                                                                             Case number             If known)
                      First Name        Middle Name        Last Name


 Part 2:            List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      ID No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      0       Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      Included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim

 1 j ALLY FINANCIAL                                                                 Last 4 digits of account number     9330
L_
     Nonpriority Creditor's Name
                                                                                                                                                          $       4166.00
          200 RENAISSANCE CTR
                                                                                    When was the debt incurred?          3/25/13
          Number            Street
          DETROIT                                     MI                48243
          City                                        State            ZIP Code     As of the date you file, the claim is: Check all that apply.

                                                                                    O Contingent
          Who incurred the debt? Check one.                                         •    Unliquidated
          O Debtor 1 only                                                           CI   Disputed
          O Debtor 2 only
          O Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
          0 At least one of the debtors and another                                 O Student loans
                                                                                    O Obligations arising out of a separation agreement or divorce
          O Check if this claim is for a community debt
                                                                                      that you did not report as priority claims
          Is the claim subject to offset?                                           O Debts to pension or profit-sharing plans, and other similar debts
          O No                                                                      g    Other. Specify   AUTOMOBILE
          CI Yes
4.2       AMSCOT PAYDAY LOAN                                                        Last 4 digits of account number UNKNOWN                               $__5QQ.C3
          Nonpriority Creditor's Name                                               When was the debt incurred?          201-4
          2204 EAST HILLSBOROUGH AVENUE
          Number            Street
          TAMPA                                        FL               33610       As of the date you file, the claim is: Check all that apply.
          City                                        State            ZIP Code
                                                                                    O Contingent
          Who incurred the debt? Check one.                                         •    Unliquidated
                                                                                    O Disputed
          O Debtor 1 only
          O Debtor 2 only
                                                                                    Type of NONPRIORITY unsecured claim:
          O Debtor 1 and Debtor 2 only
          0 At least one of the debtors and another                                 O Student loans
                                                                                    O Obligations arising out of a separation agreement or divorce
          O Check if this claim is for a community debt                               that you did not report as priority claims
          Is the claim subject to offset?                                           • Debts to pension or profit-sharing plans, and other similar debts

          O No                                                                      g    Other. Specify   JUDGMENT
          O Yes

4.3
          BANK OF AMERICA                                                           Last 4 digits of account number 1)536_
          Nonpriority Creditor's Name                                                                                                                     $         878.00
          POB 17054
                                                                                    When was the debt incurred?            3/13/13
          Number            Street
          WILMINGTON                                   DE               19884
                                                                                    As of the date you file, the claim is: Check all that apply.
          City                                        State            ZIP Code
                                                                                    O Contingent
          Who incurred the debt? Check one.
                                                                                    •    Unliquidated
          g Debtor 1 only
                                                                                    •    Disputed
          O Debtor 2 only
          O Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
          0 At least one of the debtors and another
                                                                                    •    Student loans
          O Check if this claim is for a community debt                             O Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
          Is the claim subject to offset?
                                                                                    O Debts to pension or profit-sharing plans, and other similar debts
          g      No
                                                                                    14 Other. Specify     CREDIT CARD
          0 Yes


Official Form 106E/F                                          Schedule EJF: Creditors Who Have Unsecured Claims                                               page 3
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Debtor 1            LAMARCUS M. DAVIS                                 Petition Page 35 of 64
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                   First Name       Middle Name        Last Name



 Part 2:       Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                     Total claim


4.4
                                                                                                                                7120
      CAPITAL ONE BANK USA N                                                        Last 4 digits of account number                                         $   113.00
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?             7/29/19
      PO BOX 85520
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      RICHMOND                                      VA              23285
      City                                          State          ZIP Code         U    Contingent
                                                                                    LI   Unliquidated
      Who incurred the debt? Check one.                                             O Disputed
      •      Debtor 1 only
      U Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                  U Student loans
      1=1 At least one of the debtors and another                                   O Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    Other. Specify   CREDIT CARD
      O No
      1=1 Yes


4.5
          CONVERGENT OUTSOURCING                                                    Last 4 digits of account number             5700                        $ 1516.00
      Nonpnonty Creditor's Name

          800 SW 39TH ST
                                                                                    When was the debt incurred?                 8/29/16
      Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
          RENTON                                     WA              98057
      City                                          State          ZIP Code         LI   Contingent
                                                                                    LI   Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      cd Debtor 1 only
      O Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                  1:1 Student loans
      LI At least one of the debtors and another                                    O Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      LI Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               el Other. Specify     COLLECTION
      O No
      1:1 Yes

4.6                                                                                                                                                         $   5000.00
                                                                                    Last 4 digits of account number             UNKNOWN
          EMORY HOSPITAL
      Nonpriority Creditor's Name

          1364 CLIFTON ROAD
                                                                                    When was the debt incurred?                 2018
      Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
          ATLANTA                                    GA              30322

      City                                          State          ZIP Code         U Contingent
                                                                                    •    Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      el Debtor 1 only
      1:1 Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                  O Student loans
      0 At least one of the debtors and another                                     1=1 Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
      LI Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    Other. Specify   MEDICAL
      O No
      1:1 Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4
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Debtor 1         LAMARCUS M. DAVIS       Petition Page 36 of 64
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                 Fitst Name         Middle Name      Last Name



 Part 2:       Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                       Total Claim


4.7
      FEDLOAN SERVICING                                                           Last 4 digits of account number           0004                              $   3359.00
      Nonpriority Creditor's Name
                                                                                  When was the debt incurred?               9/5/10
      P.O. BOX 530210
      Number          Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      ATLANTA                                     GA              30353-0210
      City                                        State          ZIP Code         O       Contingent
                                                                                  •       Unliquidated
      Who incurred the debt? Check one.                                           O       Disputed
      O Debtor 1 only
      O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                O       Student loans
      0 At least one of the debtors and another                                   O       Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                  O       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             O       Other. Specify
      O No
      O Yes



4.8
       FEDLOAN SERVICING                                                          Last 4 digits of account number -0008
                                                                                                                      -              - -                      $   2593.00
      Nonpriority Creditor's Name
                                                                                  When was the debt incurred?                   5/23/12
       P.O. BOX 530210
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       ATLANTA                                     GA             30353-0210
      City                                        State          ZIP Code         O       Contingent
                                                                                  •       Unliquidated
      Who incurred the debt? Check one.                                           O       Disputed
      O Debtor 1 only
      O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                O       Student loans
      0 At least one of the debtors and another                                   O       Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                  O       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             O       Other. Specify
      O No
      0 Yes
4.9                                                                                                                                                           $   1699.00
       FEDLOAN SERVICING                                                          Last 4 digits of account number               0006
      Nonpriority Creditor's Name

       P.O. BOX 530210
                                                                                  When was the debt incurred?                   7/22/09
      Number           Street
                                                                   30353-0210
                                                                                  As of the date you file, the claim is: Check all that apply.
       ATLANTA                                     GA

      City                                        State          ZIP Code             O   Contingent
                                                                                      •   Unliquidated
      Who incurred the debt? Check one.                                           O       Disputed
      O Debtor 1 only
      CI     Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                    •   Student loans
      0 At least one of the debtors and another                                       O   Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                      O   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                 •   Other. Specify
      O No
      O Yes




Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                              page 4
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Debtor 1             LAMARCUS M. DAVIS                              Petition Page 37 of 64
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                   First Name        Middle Name      Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                        Total claim


4.10
       FEDLOAN SERVICING                                                           Last 4 digits of account number             0009                            $ 1527.00
       Nonpriority Creditor's Name

       P.O. BOX 530210
                                                                                   When was the debt incurred?                 5/23/12
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       ATLANTA                                     GA              30353-0210
       City                                        State          ZIP Code         O       Contingent
                                                                                   •       Unliquidated
       Who incurred the debt? Check one.                                           O       Disputed
       •      Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                O       Student loans
       0 At least one of the debtors and another                                   O       Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                   O       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             LI      Other. Specify
       O No
       O Yes



4.11
           FEDLOAN SERVICING                                                       Last 4 digits of account number                 0005                        $ 4381.00
       Nonpriority Creditors Name

           P.O. BOX 530210
                                                                                   When was the debt incurred?                     7/22/09
       Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
           ATLANTA                                  GA             30353-0210
       City                                        State          ZIP Code         O       Contingent
                                                                                   •       Unliquidated
       Who incurred the debt? Check one.                                           •       Disputed
       O Debtor 1 only
       U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                16 Student loans
       0 At least one of the debtors and another                                   O       Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                   CI      Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             O       Other. Specify
       O No
       CI Yes
4.12                                                                                                                                                           $   5186.00
           FEDLOAN SERVICING                                                       Last 4 digits of account number                 0007
       Nonpriority Creditors Name

           P.O. BOX 530210
                                                                                   When was the debt incurred?                     9/29/11
       Number            Street
                                                                   30353-0210
                                                                                   As of the date you file, the claim is: Check all that apply.
           ATLANTA                                  GA

       City                                        State          ZIP Code         O       Contingent
                                                                                   •       Unliquidated
       Who incurred the debt? Check one.                                           CI      Disputed
       O Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                •       Student loans
       0 At least one of the debtors and another                                       O   Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                       O   Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 •   Other. Specify
       O No
       O Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                              page 4
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Debtor 1             LAMARCUS M. DAVIS                                  Petition Page 38 of 64
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                    First Name      Middle Name           Last Name


 Part 2:           Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                       , Total claim


4.13
       FEDLOAN SERVICING                                                                Last 4 digits of account number 0001                                  $ 4381.00
       Nonpnonty Creditor's Name
                                                                                        When was the debt incurred?          9/9/09
       P.O. BOX 530210
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       ATLANTA                                          GA             30353-0210
       City                                             State         ZIP Code          O Contingent
                                                                                        O Unliquidated
       Who incurred the debt? Check one.                                                O Disputed
       O Debtor 1 only
       O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                       Student loans
       U At least one of the debtors and another                                        O Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                        O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  O Other. Specify
       •      No
       O Yes



4.14
                                                                                                                                                              $ 5409.00
           FEDLOAN SERVICING                                                            Last 4 digits of account number     -0003
                                                                                                                                - -         -
       Nonpnority Creditors Name

           P.O. BOX 530210
                                                                                        When was the debt incurred?          9/5/10
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
           ATLANTA                                       GA            30353-0210
       City                                             State         ZIP Code          O Contingent
                                                                                        •   Unliquidated
       Who incurred the debt? Check one.                                                O Disputed
       O Debtor 1 only
       O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                     id Student loans
       0      At least one of the debtors and another                                   • Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                        O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  O Other. Specify
       •      No
       O Yes

4.15                                                                                                                                                           $ 3553.00
                                                                                        Last 4 digits of account number      0002
           FEDLOAN SERVICING                                                                                                      - -
       Nonpriority Creditors Name
           P.O. BOX 530210
                                                                                        When was the debt incurred?          9/9/09
       Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       ATLANTA                                           GA             30353-0210

       City                                             State         ZIP Code          O Contingent
                                                                                        •   Unliquidated
       Who incurred the debt? Check one.                                                O Disputed
       O Debtor 1 only
       O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                     • Student loans
       0      At least one of the debtors and another                                   O Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                        O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                   O Other. Specify
       id No
       O Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4
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Debtor 1             LAMARCUS M. DAVIS                              Petition Page 39 of 64
                                                                                        Case number urknown)
                                     Middle Name      Last Name


 Part 2:          Your NONPRIORITY Unsecured Claims — Continuation Page



 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim


4.16
       GREEN WHICH COMMONS APARTMENTS                                              Last 4 digits of account number      UNKNOWN                           $   600.00
       Nonpnonty Creditor's Name
                                                                                   When was the debt incurred?           2014
       14608 NORTH 43RD STREET
       Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       TAMPA                                        FL             33613
       City                                        State          ZIP Code         O Contingent
                                                                                   •    Unliquidated
       Who incurred the debt? Check one.                                           O Disputed
       O Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       CI Debtor 1 and Debtor 2 only                                               O Student loans
       0 At least one of the debtors and another                                   O Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                   O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             O Other. Specify     PAYDAY LOAN
       O No
       O Yes


4.17
           METLIFE AUTO DIRECT AUTO INSURANCE                                      Last 4 digits of account number       UNKNOWN                          $   600.00
       Nonpriority Creditor's Name
                                                                                   When was the debt incurred?           2017
           P.O. BOX 41753
       Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
           PA                                       PA             19101
       City                                        State          ZIP Code         O Contingent
                                                                                   •    Unliquidated
       Who incurred the debt? Check one.                                           O Disputed
       O Debtor 1 only
       •        Debtor 2 only                                                      Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                O Student loans
       0 At least one of the debtors and another                                   O Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                   O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             O Other. Specify     PAYDAY LOAN
       O No
       0 Yes
4.18                                                                                                                                                      $   500.00
           PROGRESSIVE AUTO INSURANCE                                              Last 4 digits of account number       UNKNOWN
       Nonpnonty Creditor's Name
                                                                                   When was the debt incurred?           2018
       6300 WILSON MILLS ROAD
       Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       MAYFIELD                                     OH             44143
       City                                        State          ZIP Code          O Contingent
                                                                                    •   Unliquidated
       Who incurred the debt? Check one.                                            O Disputed
       O Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                 O Student loans
       0 At least one of the debtors and another                                    O Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                    O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              O Other. Specify   PAYDAY LOAN
       O No
       O Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4
                   Case 19-68764-lrc Doc 1 Filed 11/22/19 Entered 11/22/19 08:39:09                                                               Desc
Debtor 1           LAMARCUS M. DAVIS       Petition Page 40 of 64
                                                               Case number                                         Of known)
                   First Name       Middle Name       Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                     Total claim


4,19
                                                                                   Last 4 digits of account number 1528               ____
       SEQUIUM ASSET SOLUTION                                                                                                                               $   467.00
       Nonpnonty Creditors Name
                                                                                   When was the debt incurred?             5/28/19
       1130 NORTHCHASE PKWY SE
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       MARIETTA                                    GA              30067
       City                                        State          ZIP Code         O Contingent
                                                                                   •    Unliquidated
       Who incurred the debt? Check one.                                           O Disputed
       O Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                O Student loans
       O At least one of the debtors and another                                   O    Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
       CI Check if this claim is for a community debt                              CI   Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             O Other. Specify     COLLECTION
       O No
       O Yes


4.20
           SUNCOAST CREDIT UNION                                                   Last 4 digits of account number         -0865
                                                                                                                               - -           -              $ 396.00
       Nonpnonty Creditor's Name
                                                                                   When was the debt incurred?                 1/8/16
           PO BOX 11904
       Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
           TAMPA                                    FL             33680
       City                                        State          ZIP Code         O Contingent
                                                                                   •    Unliquidated
       Who incurred the debt? Check one.                                           O Disputed
       •      Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                O Student loans
       O At least one of the debtors and another                                   O Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                   O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             O Other. Specify     CREDIT CARD
       O No
       0 Yes
4.21
                                                                                                                                                            $   102.00
           TRANSWORLD SYS INC/51                                                   Last 4 digits of account number             8652
       Nonpriority Creditors Name
                                                                                   When was the debt incurred?                 8/25/14
           500 VIRGINIA DR
       Number             Street
                                                                   19034
                                                                                   As of the date you file, the claim is: Check all that apply.
           FT WASHINGTON                            PA

       City                                        State          ZIP Code         O Contingent
                                                                                   •    Unliquidated
       Who incurred the debt? Check one.                                           O Disputed
       •      Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                 O Student loans
       0 At least one of the debtors and another                                    O Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                    O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             O Other. Specify     COLLECTION
       O No
       O Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page 4
                  Case 19-68764-lrc                  Doc 1         Filed 11/22/19 Entered 11/22/19 08:39:09                                         Desc
Debtor 1            LAMARCUS M. DAVIS                              Petition Page 41 of 64
                                                                                       Case number                    (if known)
                   First Name        Middle Name     Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                        Total claim


4.22
                                                                                                                                   6178
       WAYPOINT RESOURCE GROU                                                      Last 4 digits of account number                                             $   90.00
       Nonpriority Creditor's Name
                                                                                   When was the debt incurred?                     12/13/18
       301 SUNDANCE PKWY
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       ROUND ROCK                                  TX             78681
       City                                        State         ZIP Code          0       Contingent
                                                                                   •       Unliquidated
       Who incurred the debt? Check one.                                           O       Disputed,
       0      Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                O       Student loans
       O At least one of the debtors and another                                   O       Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
       I:1 Check if this claim is for a community debt                             O       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             10 Other. Specify        COLLECTION
       id No
       O Yes




                                                                                   Last 4 digits of account number
       Nonpnonty Creditors Name
                                                                                   When was the debt incurred?

       Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.

       City                                        State         ZIP Code          0       Contingent
                                                                                   •       Unliquidated
       Who incurred the debt? Check one.                                           O       Disputed
       O Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       U Debtor 1 and Debtor 2 only                                                O       Student loans
       0 At least one of the debtors and another                                   O       Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                   O       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             O       Other. Specify
       O No
       O Yes



                                                                                   Last 4 digits of account number
       Nonpriority Creditors Name
                                                                                   When was the debt incurred?

       Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.

       City                                        State         ZIP Code          0       Contingent
                                                                                   •       Unliquidated
       Who incurred the debt? Check one.                                           O       Disputed
       O Debtor 1 only
       U Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                O       Student loans
       O At least one of the debtors and another                                   O       Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                   O       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 O   Other. Specify
       U No
       O Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                              page 4
                Case 19-68764-lrc                    Doc 1           Filed 11/22/19 Entered 11/22/19 08:39:09                           Desc
Debtor 1        LAMARCUS M. DAVIS                                    Petition Page 42 of 64
                                                                                         Case number (!known)
                First Name     Middle Name           Last Name


               List Others to Be Notified About a Debt That You Already Listed

S. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
   example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
   2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
   additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims

                                                                            Last 4 digits of account number

      City

                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                             •   Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                             U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number

                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line        of (Check one): 0    Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                             U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                             U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code

                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                             U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                         U Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims


      City                                   State               ZIP Code
                                                                            Last 4 digits of account number



Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 13
            Case 19-68764-lrc                    Doc 1         Filed 11/22/19 Entered 11/22/19 08:39:09                     Desc
Debtor 1       LAMARCUS M. DAVIS                               Petition Page 43 of 64
                                                                                   Case number         Cr! known)
               First Name     Middle Name         Last Name




Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                 6a. Domestic support obligations                               6a.                           0.00
Total claims
from Part 1
                 6b. Taxes and certain other debts you owe the
                     government                                                 6b.                           0.00
                 6c.Claims for death or personal injury while you were
                    intoxicated                                                 6c.                           0.00
                 6d. Other. Add all other priority unsecured claims.
                     Write that amount here.                                    6d. + $                       0.00


                 6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                              0.00


                                                                                       Total claim

             6f. Student loans                                                  6f.                  32088.00
Total claims
from Part 2 6g. Obligations arising out of a separation agreement
                 or divorce that you did not report as priority
                 claims                                                         6g.     $                     0.00

                 6h. Debts to pension or profit-sharing plans, and other
                     similar debts                                              6h.                           0.00

                 61. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                    6i.   + $            14928.00


                 6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                     47016.00




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                            page 14
                  Case 19-68764-lrc                   Doc 1      Filed 11/22/19 Entered 11/22/19 08:39:09                              Desc
                                                                 Petition Page 44 of 64

 Fill in this information to identify your case:


 Debtor               LAMARCUS M. DAVIS
                      First Name               Middle Name            Last Name

 Debtor 2
 (Spouse If filing)   First Name               Middle Name            Last Name

                                           NORTHERN DISTRICT OF GEORGIA
 United States Bankruptcy Court for the:

 Case number
  (If known)                                                                                                                          0   Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      Li No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                             State what the contract or lease is for


2.1

       PROGRESSIVE LEASING                                                            BESTBUY MY LABTOP
      Name
       256 WEST DATA DRIVE
       Number            Street
        DRAPER                        UT              84020
       City                                State      ZIP Code

2.2


       Name

       Number            Street


       City                                State      ZIP Code




      Name

      Number              Street


       City                                State      ZIP Code

2.4

      Name

       Number             Street


       City                                State      ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                           page 1
                 Case 19-68764-lrc                          Doc 1             Filed 11/22/19 Entered 11/22/19 08:39:09                              Desc
                                                                              Petition Page 45 of 64
 Fill in this information to identify your case:

 Debtor 1          LAMARCUS M. DAVIS
                    First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name                      Middle Name                  Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA

 Case number
  (If known)
                                                                                                                                                    0 Check if this is an
                                                                                                                                                       amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       Ul No
       O Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       El No. Go to line 3.
       O Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           LI No
           0 Yes. In which community state or territory did you live?                                     . Fill in the name and current address of that person.



                  Name of your spouse, former spouse, or legal equivalent



                  Number            Street



                  City                                             State                      ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 1060), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
     Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                                  Check all schedules that apply:
 3.1
                                                                                                                  Ll Schedule D, line
         Name
                                                                                                                   0   Schedule E/F, line
         Number            Street                                                                                  0   Schedule G, line

         City                                                         State                    ZIP Code

 3.21
                                                                                                                   0   Schedule D, line
         Name
                                                                                                                   0   Schedule E/F, line
         Number            Street                                                                                  0   Schedule G, line

                                                                      State                    ZIP Code

 3.3
                                                                                                                  CI   Schedule D, line
         Name
                                                                                                                   O Schedule E/F, line
         Number            Street                                                                                  O Schedule G, line

         coy                                                          State                    ZIP Code

--
                                                                                                                                                             page 1
Official Form 106H                                                             Schedule H: Your Codebtors
                 Case 19-68764-lrc                  Doc 1    Filed 11/22/19 Entered 11/22/19 08:39:09                                  Desc
                                                             Petition Page 46 of 64

 Fill in this information to identify your case:


 Debtor 1           LAMARCUS M. DAVIS
                    First Name               Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name           Last Name

                                           NORTHERN DISTRICT OF GEORGIA
 United States Bankruptcy Court for the:

 Case number                                                                                         Check if this is:
 (If known)
                                                                                                     U An amended filing
                                                                                                     U A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:

Official Form 1061                                                                                         MM I DD   YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are thing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                   Describe Employment


1. Fill in your employment
   information.                                                          Debtor 1                                      Debtor 2 or non-filing spouse

      If you have more than one job,
      attach a separate page with
      information about additional         Employment status          El Employed                                      U Employed
      employers.                                                      U Not employed                                     Not employed

      Include part-time, seasonal, or
      self-employed work.
                                           Occupation                OUTREACH SPECIALIST
      Occupation may include student
      or homemaker, if it applies.
                                           Employer's name           EMPOWERMENT CENTER

                                           Employer's address        230 PEACHTREE STREET NOR
                                                                      Number Street                                  Number   Street
                                                                     1800



                                                                     ATLANTA                   GA    30303
                                                                      City             State    ZIP Code             City                State ZIP Code

                                           How long employed there?       6 MONTHS


                   Give Details About Monthly Income

      Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
      spouse unless you are separated.
      If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
      below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1         For Debtor 2 or
                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.         2.          3223.35
                                                                                                $

 3.    Estimate and list monthly overtime pay.                                          3. + $         0.00          + $

 4. Calculate gross income. Add line 2 + line 3.                                        4.      $   3223.35



Official Form 1061                                               Schedule I: Your Income                                                        page 1
                   Case 19-68764-lrc                            Doc 1              Filed 11/22/19 Entered 11/22/19 08:39:09                                              Desc
                                                                                   Petition Page 47 of 64
Debtor 1            LAMARCUS M. DAVIS                                                                                        Case number (f known)
                   First Name          Middle Name               Lest Name


                                                                                                                           For Debtor 1              For Debtor 2 or
                                                                                                                                                     non-filinq spouse

      Copy line 4 here                                                                                       4    4.       $       3223.35

 5. Indicate whether you have the payroll deductions below:

       5a. Tax, Medicare, and Social Security deductions                                                          5a.      $          547.19           $
       5b. Mandatory contributions for retirement plans                                                           5b.      $               0.00        $
       Sc. Voluntary contributions for retirement plans                                                           Sc.      $               0.00        $
       5d. Required repayments of retirement fund loans                                                           5d.      $               0.00        $
       5e. Insurance                                                                                              5e.      $               0.00        $
       5f. Domestic support obligations                                                                           5f.      $               0.00        $
       5g. Union dues                                                                                             5g.      $              0.00         $
       5h. Other deductions. Specify:                                                                             5h. 41                 82.33       + $

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e + 5f + 5g + 5h. 6.                                       $         629.52            $
  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      $      2593.83              $

 a. List all other income regularly received:
       8a. Net income from rental property and from operating a business,                                          8a.     $            0.00
           profession, or farm
             Attach a statement for each property and business showing gross receipts, ordinary and
             necessary business expenses, and the total monthly net Income.


        8b. Interest and dividends                                                                                                       0.00
        8c. Family support payments that you, a non-filing spouse, or a dependent                                                        0.00
            regularly receive
             Include alimony, spousal support, child support, maintenance, divorce settlement, and
             property settlement.

        8d. Unemployment compensation                                                                                                    0.00
        8e. Social Security                                                                                                              0.00
        8f. Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance that you
             receive, such as food stamps or housing subsidies.
             Specify (Debtor 1):                     Specify (Debtor 2 or Non-Filing Spouse):


                                                                                                                                         0.00

        8g. Pension or retirement income                                                                                                 0.00

        8h. Other monthly income.
             Specify (Debtor 1):                     Specify (Debtor 2 or Non-Filing Spouse):


                                                                                                                                         0.00

 0.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                                             0.00

10.Calculate monthly income. Add line 7 + line 9.                                                                           $      2593.83                        0.00      $      2593.83
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11.State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other friends or
      relatives. Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                       11.+   $            0.00
 12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                                                              2593.83
                                                                                                                                                                     12.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies
                                                                                                                                                                            Combined
 12. Do you expect an increase or decrease within the year after you file this form?                                                                                        monthly income
      • No.
      ▪ Yes. Explain:


Official Form 1061                                                                   Schedule I: Your Income                                                                    page 2
                   Case 19-68764-lrc                    Doc 1      Filed 11/22/19 Entered 11/22/19 08:39:09                                    Desc
                                                                   Petition Page 48 of 64

  Fill in this information to identify your case:


   Debtor 1
                    LAMARCUS M. DAVIS
                        First Name               Middle Name              Last Name                        Check if this is:
   Debtor 2
   (Spouse, if fling)   First Name               Middle Name              Last Name
                                                                                                           CI An amended filing
                                                                                                           0 A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA
                                                                                                               expenses as of the following date:
   Case number                                                                                                 MM / DD/ YYYY
   (If known)



 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:               Describe Your Household

1. Is this a joint case?

    RI No.    Go to line 2.
         Yes. Does Debtor 2 live in a separate household?

                        No
                 Ll     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                     4   No                                   Dependent's relationship to              Dependent's    Does dependent live
    Do not list Debtor 1 and                   0   Yes. Fill out this information for   Debtor 1 or Debtor 2                     age            with you?
    Debtor 2.                                      each dependent
                                                                                                                                                1:1 No
    Do not state the dependents'
                                                                                                                                                O Yes
    names.
                                                                                                                                                O No
                                                                                                                                                O Yes
                                                                                                                                                ID No
                                                                                                                                                D  Yes
                                                                                                                                                O No
                                                                                                                                                D Yes
                                                                                                                                                O No
                                                                                                                                                O Yes

 3. Do your expenses Include                        No
    expenses of people other than
   _yourself and your dependents?              0    Yes

 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule Your Income (Official Form 1061.)                                                 Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                    781.00
     any rent for the ground or lot.                                                                                       4.

      If not included in line 4:
      4a. Real estate taxes                                                                                                4a.                        0.00
      4b. Property, homeowner's, or renter's insurance                                                                     4b.                        0.00
      4c. Home maintenance, repair, and upkeep expenses                                                                    4c.                        0.00
      4d. Homeowner's association or condominium dues                                                                      4d.                        0.00

Official Form 106J                                                Schedule J: Your Expenses                                                           page 1
                 Case 19-68764-lrc              Doc 1        Filed 11/22/19 Entered 11/22/19 08:39:09                                Desc
                                                             Petition Page 49 of 64

Debtor 1         LAMARCUS M. DAVIS                                                       Case number (if known)
                 First Name    Middle Name       Last Name




                                                                                                                            Your expenses

                                                                                                                                              0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                    5.


 6. Utilities:
      6a. Electricity, heat, natural gas                                                                          6a.       $               300.00
      6b. Water, sewer, garbage collection                                                                        6b.       $               200.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.       $               400.00
      6d. Other. Specify:                                                                                         6d.       $                 0.00

 7. Food and housekeeping supplies                                                                                7.                        300.00
 B. Childcare and children's education costs                                                                      8.                          0.00
 9. Clothing, laundry, and dry cleaning                                                                           9.                         60.00
10. Personal care products and services                                                                           10. $                     600.00
11. Medical and dental expenses                                                                                   11.       $                An no
12. Transportation. Include gas, maintenance, bus or train fare.                                                                            250.00
      Do not include car payments.                                                                                12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                          13.                       200.00
14.   Charitable contributions and religious donations                                                            14.                         0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                         15a.                        0.00
      15b. Health insurance                                                                                       15b.                      200.00
      15c. Vehicle insurance                                                                                      15c.                        0.00
      15d. Other insurance. Specify:                                                                              15d.                        0.00

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                  16.
                                                                                                                                              0.00
      Specify:

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                             17a.

      17b. Car payments for Vehicle 2                                                                             17b.

      17c. Other. Specify:                                                                                        17c.

      17d. Other. Specify:                                                                                        17d.

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule Your Income (Official Form 1061).                                                 18
                                                                                                                        '   $                 0.00

19. Other payments you make to support others who do not live with you.
      Specify:                                                                                                     19.      $                 0.00

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule     Your Income.

      20a. Mortgages on other property                                                                            20a       $                 0.00

      zob. Real estate taxes                                                                                      20b.      $                 0.00
      20c. Property, homeowner's, or renter's insurance                                                           20c.      $                 0.00
      20d. Maintenance, repair, and upkeep expenses                                                               20d.      $                 0.00
      20e. Homeowner's association or condominium dues                                                            20e.      $                 0.00


Official Form 106J                                           Schedule J: Your Expenses                                                        page 2
                   Case 19-68764-lrc               Doc 1        Filed 11/22/19 Entered 11/22/19 08:39:09                             Desc
                                                                Petition Page 50 of 64

 Debtor 1           LAMARCUS M. DAVIS                                                         Case number   (if known)
                   First Name    Middle Name        Last Name




21. Other. Specify:                                                                                                      21.    +$          0.00


22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                                 22a.               3371.00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                          22b.                   0.00
       22c. Add line 22a and 22b. The result is your monthly expenses.                                               22c.              3371.00



23. Calculate your monthly net income.
                                                                                                                                       2593.83
      23a.     Copy line 12 (your combined monthly income) from Schedule I.                                          23a.

      23b.     Copy your monthly expenses from line 22c above.                                                       23b.        $     3371.00

      23c.     Subtract your monthly expenses from your monthly income.
                                                                                                                                       -777.17
               The result is your monthly net income.                                                                    23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

             No.
      El Yes.        Explain here:




Official Form 106J                                              Schedule J: Your Expenses                                                   page 3
                        Case 19-68764-lrc                  Doc 1   Filed 11/22/19 Entered 11/22/19 08:39:09                             Desc
                                                                   Petition Page 51 of 64

Fill in this information to identify your case:

Debtor 1              LAMARCUS M. DAVIS
                      First Name            Middle Name                 Last Name


Debtor 2
(Spouse, if filing)   First Name             Middle Name                Last Name


United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA

Case number
                                                                                                                                          D Check if this is an
(If known)                                                                                                                                     amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:           List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

            Identify the creditor and the property that is collateral               What do you intend to do with the property that   Did you claim the property
                                                                                    secures a debt?                                   as exempt on Schedule C?

           Creditor's                                                               0 Surrender the property.                         U No
           name:
                                                                                    0 Retain the property and redeem it.                 Yes
          Description of
          property
                                                                                    0 Retain the property and enter into a
          securing debt:                                                               Reaffirmation Agreement.
                                                                                       Retain the property and [explain]:



          Creditor's                                                                0 Surrender the property.                         LI No
          name:
                                                                                    0 Retain the property and redeem it.              0 Yes
          Description of
          property
                                                                                    0 Retain the property and enter into a
          securing debt:                                                               Reaffirmation Agreement.
                                                                                       Retain the property and [explain]:



          Creditor's                                                                O Surrender the property.                         0 No
          name:
                                                                                       Retain the property and redeem it.             0 Yes
           Description of
                                                                                       Retain the property and enter into a
           property
           securing debt:                                                              Reaffirmation Agreement.
                                                                                    0 Retain the property and [explain]:

           Creditor's                                                               0 Surrender the property.                         LI No
           name:
                                                                                    U Retain the property and redeem it.              0 Yes
           Description of
           property
                                                                                    U Retain the property and enter into a
           securing debt:                                                              Reaffirmation Agreement.
                                                                                    O Retain the property and [explain]:


   Official Form 108                           Statement of Intention for individuals Filing Under Chapter 7                                   page 1
                Case 19-68764-lrc                  Doc 1        Filed 11/22/19 Entered 11/22/19 08:39:09                             Desc
                                                                Petition Page 52 of 64
Debtor 1        LAMARCUS M. DAVIS                                                               Case number (If known)
                First Name          Middle Name     Last Name




  Part 2:       List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                                  Will the lease be assumed?

      Lessor's name:             PROGRESSIVE LEASING                                                                     0 No
                                                                                                                            Yes
      Description of leased             BESTBUY MY LABTOP
      property:


       Lessor's name:                                                                                                    1:1 No
                                                                                                                         D Yes
       Description of leased
       property:


       Lessor's name:                                                                                                    0 No
       Description of leased                                                                                             lj Yes
       property:


       Lessor's name:                                                                                                    El No
                                                                                                                         0 Yes
       Description of leased
       property:


       Lessor's name:                                                                                                    LI No
                                                                                                                         U Yes
       Description of leased
       property:


       Lessor's name:                                                                                                    U No
                                                                                                                         0 Yes
       Description of leased
       property:


       Lessor's name:                                                                                                    1:1 No
                                                                                                                         1:1 Yes
       Description of leased
       property:




  Part 3:        Sign Below



     Under penalty of perjury, I declare that I have Indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.




       Signature of Debtor 1                                         Signature of Debtor 2


       Date   II I a. oto 7                                          Date
              MM!   DD       /   YYYY                                       MM /   DD/   YYYY




Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                           page 2
                 Case 19-68764-lrc                 Doc 1       Filed 11/22/19 Entered 11/22/19 08:39:09                              Desc
                                                               Petition Page 53 of 64


 Fill in this information to identify your case:


 Debtor 1              LAMARCUS M. DAVIS
                       First Name            Middle Name            Last Name


 Debtor 2
 (Spouse, if filing)   First Name            Middle Name            Last Name

                                           NORTHERN DISTRICT OF GEORGIA
 United States Bankruptcy Court for the:

 Case number                                                                                                                        1:1 Check if this is an
                       (If known)                                                                                                       amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:         Summarize Your Assets


                                                                                                                                 Your assets
                                                                                                                                 Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                     0.00
   Ia. Copy line 55, Total real estate, from Schedule A/B


     lb. Copy line 62, Total personal property, from Schedule A/B                                                                             4738.00

     1c. Copy line 63, Total of all property on Schedule A/B                                                                                  4738.00


Part 2:         Summarize Your Liabilities


                                                                                                                                  Your liabilities
                                                                                                                                  Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                     0.00
   2a. C,opy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                     0.00
     3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

     3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                        47016.00
                                                                                                                                 + $

                                                                                                        Your total liabilities               47016.00


Part 3:         Summarize Your Income and Expenses


4.   Schedule I: Your Income (Official Form 1061)
                                                                                                                                              2593.83
     Copy your combined monthly income from line 12 of Schedule I

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J
                                                                                                                                              3371.00




Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical Information                          page 1
                Case 19-68764-lrc                Doc 1        Filed 11/22/19 Entered 11/22/19 08:39:09                             Desc
                                                              Petition Page 54 of 64
  Debtor 1       LAMARCUS M. DAVIS                                                              Case number of known)
                First Name    Middle Name         Last Name




   Part 4:     Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

      LI No.
      21 Yes

   7. What kind of debt do you have?

      El Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
         family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

      LI Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
         this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                2500.00




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                         Total claim


        From Part 4 on Schedule E/F, copy the following:


                                                                                                                            0.00
      9a.Domestic support obligations (Copy line 68.)


      9b.Taxes and certain other debts you owe the government. (Copy line 6b.)                                              0.00


                                                                                                                            0.00
      9c.Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


      9d.Student loans. (Copy line 6f.)
                                                                                                                        32088.00

      9e. Obligations arising out of a separation agreement or divorce that you did not report as                           0.00
          priority claims. (Copy line 6g.)

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$                    0.00


      9g.Total. Add lines 9a through 9f.                                                                                32088.00




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information                                            page 2
                      Case 19-68764-lrc                   Doc 1   Filed 11/22/19 Entered 11/22/19 08:39:09                                         Desc
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Fill in this information to identify your case:

Debtor 1            LAMARCUS M. DAVIS
                    First Name              Middle Name             Last Name

Debtor 2
(Spouse, If filing) First Name              Middle Name             Last Name


United States Bankruptcy Court for the: NORTHERN DISTRICT OF GEORGIA
Case number
 (If known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                            12/15


  If two married people are filing together, both are equally responsible for supplying correct Information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud In connection with a bankruptcy case can result in fines up to $250,000, or Imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                     Sign Below



       Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

        0     No
       D      Yes. Name of person                                                           . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




            Signature of Debtor 1                                       Signature of Debtor 2


            Date                     a 'D                               Date
                   MM /   DD     /   YYYY                                       MM/ DD /   YYYY




  Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
                  Case 19-68764-lrc                    Doc 1     Filed 11/22/19 Entered 11/22/19 08:39:09                                  Desc
                                                                 Petition Page 56 of 64
 Fill in this information to identify your case:                                                      Check one box only as directed in this form and in
                                                                                                      Form 122A-1Supp:
 Debtor 1          LAMARCUS M. DAVIS
                       First Name              Middle Name             Last Name
                                                                                                      66 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing)   First Name               Middle Name            Last Name                      LI 2. The calculation to determine if a presumption of
                                         NORTHERN DISTRICT OF GEORGIA                                       abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the:                                                                    Means Test Calculation (Official Form 122A-2).

 Case number                                                                                          lj 3. The Means Test does not apply now because of
 (If known)                                                                                                 qualified military service but it could apply later.


                                                                                                      CI Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                             10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

    Part 1:            Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
         el Not married. Fill out Column A, lines 2-11.
         LI Married and your spouse Is filing with you. Fill out both Columns A and B, lines 2-11.

         LI Married and your spouse is NOT filing with you. You and your spouse are:
              LI Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              LI Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                       under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                       spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
         bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
         August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
         Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
         income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A            Column B
                                                                                                         Debtor 1            Debtor 2 or
                                                                                                                             non-filing spouse

    2. Your gross wages, salary, tips, bonuses, overtime, and commissions
                                                                                                          $ 2500.00            $
         (before all payroll deductions).
    3. Alimony and maintenance payments. Do not include payments from a spouse if                                0.00
         Column B is filled in.
    4. All amounts from any source which are regularly paid for household expenses
       of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                                         $      0.00          $

    5. Net income from operating a business, profession,                Debtor 1     Debtor 2
       or farm
         Gross receipts (before all deductions)                          $ 0.00 $
         Ordinary and necessary operating expenses                       $A1.110— $
                                                                                                Copy
         Net monthly income from a business, profession, or farm         $    0.00              here4            0.00          $

    6. Net income from rental and other real property                   Debtor 1 Debtor 2
         Gross receipts (before all deductions)                          $ 0.00 $
         Ordinary and necessary operating expenses                     - $_0_110- $
                                                                                                Copy
         Net monthly income from rental or other real property           $ 0.00 $               here'4    $      0.00          $
   7. Interest, dividends, and royalties                                                                         0.00          $


Official Form 122A-1                               Chapter 7 Statement of Your Current Monthly Income                                                 page 1
                Case 19-68764-lrc                Doc 1       Filed 11/22/19 Entered 11/22/19 08:39:09                                   Desc
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Debtor 1        LAMARCUS M. DAVIS                                                              Case number of known)
                First Name    Middle Name        Last Name



                                                                                                    Column A               Column B
                                                                                                    Debtor 1               Debtor 2 or
                                                                                                                           non-filing spouse

   8. Unemployment compensation                                                                              0.00
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:
            For you                                                             0.00
            For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act. Also, except as stated in the next sentence, do
       not include any compensation, pension, pay, annuity, or allowance paid by the
       United States Government in connection with a disability, combat-related injury or
       disability, or death of a member of the uniformed services. If you received any retired
       pay paid under chapter 61 of title 10, then include that pay only to the extent that it
       does not exceed the amount of retired pay to which you would otherwise be entitled if
       retired under any provision of title 10 other than chapter 61 of that title.
                                                                                                              0.00
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
                                                                                                             0.00


           Total amounts from separate pages, if any.                                               +$                     +$

   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                            $ 2500.00                        0.00      $ 2500.00
                                                                                                                                               Total current
                                                                                                                                               monthly Income

   Part 2:       Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                        Copy line 11 here+      $ 2500.00
                Multiply by 12 (the number of months in a year).                                                                               x 12
       12b. The result is your annual income for this part of the form.                                                               12b.     $ 30000.00

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                        GA

       Fill in the number of people in your household.             1

       Fill in the median family income for your state and size of household.                                                         13.      $ 47953.00
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How do the lines compare?


       14a.12I Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
               Go to Part 3.




       14b. U      Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly income                                                page 2
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                                                             Petition Page 58 of 64

Debtor 1     LAMARCUS M. DAVIS                                                                  Case number of moms)
             First Name      Middle Name         Last Name




               Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                             rY")                       CLU-s-c
                   Sighture of Debtor 1                                                        Signature of Debtor 2

                  Date     It 19-.1o/
                          MMI DD / YYYY
                                        q                                                      Date
                                                                                                      MM/ DD / YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                page 3
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                    NORTHERN DISTRICT OF GEORGIA
              IN THE UNITED STATES BANKRUPTCY COURT FOR THE




IN RE:                                 )
                                       )
                                       )      Case No.
LAMARCUS M. DAVIS                      )
             Debtor.                   )      Chapter 7


                            VERIFICATION OF MATRIX


The above named debtor hereby verifies that the attached List of Creditors is true
and correct to the best of his/her/their knowledge.




                                           Debtor Signature
       Case 19-68764-lrc        Doc 1   Filed 11/22/19 Entered 11/22/19 08:39:09   Desc
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Ally Financial
200 Renaissance Ctr
Detroit, MI 48243




Amscot Payday Loan
2204 East Hillsborough Avenue
Tampa, FL 33610




Bank Of America
Pob 17054
Wilmington, DE 19884




Capital One Bank Usa N
Po Box 85520
Richmond, VA 23285




Convergent Outsourcing
800 Sw 39th St
Renton, WA 98057




Emory Hospital
1364 Clifton Road
Atlanta, GA 30322




Fedloan Servicing
P0 Box 530210
Atlanta, GA 30353-0210
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Greenwhich Commons Apartments
14608 North 43rd Street
Tampa, FL 33613




Metlife Auto Direct Auto Insurance
P 0 Box 41753
Pa, PA 19101




Progressive Auto Insurance
6300 Wilson Mills Road
Mayfield, OH 44143




Progressive Leasing
256 West Data Drive
Draper, UT 84020




Sequium Asset Solution
1130 Northchase Pkwy Se
Marietta, GA 30067




Suncoast Credit Union
Po Box 11904
Tampa, FL 33680




Transworld Sys Inc 51
500 Virginia Dr
Ft Washington, PA 19034
     Case 19-68764-lrc   Doc 1   Filed 11/22/19 Entered 11/22/19 08:39:09   Desc
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Waypoint Resource Grou
301 Sundance Pkwy
Round Rock, TX 78681
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01259643 (RS) OF 11/22/2019


ITEM     CODE   CASE         ' QUANTITY                        AMOUNT   BY

   1      7IN   19-68764              1                      $ 335.00   Currency
                Judge - unknown at time of receipt
                Debtor - LAMARCUS MARQUISE DAVIS


TOTAL:                                                       $ 335.00


FROM: Lamarcus Marquise Davis
      827 Shadow Lake Drive
      Lithonia, GA 30058




                                      Page 1 of 1
                   Case 19-68764-lrc               Doc 1        Filed 11/22/19 Entered 11/22/19 08:39:09                                Desc
                                                                Petition Page 64 of 64
   Case Number: 19-68764                                        Name: Davis                                                               Chapter:             7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

El Individual - Series 100 Forms                                                              CI Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                            Petition Deficiencies:
 O Complete List of Creditors (names and addresses of all creditors)                            O Last 4 digits of SSN
 0 Pro Se Affidavit (due within 7 days, signature must be notarized,                            O Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                            O Type of Debtor
 O Signed Statement of SSN (due within 7 days)                                                  O Chapter
                                                                                                0 Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                         O Statistical Estimates
   CI Statement of Financial Affairs                                                            CI Venue
   O Schedules: A/B C D E/ FGHI J 0 J-2 (different addressfor Debtor 2)                         I=1 Attorney Bar Number
   O Summary of Assets and Liabilities
   O Declaration About Debtor(s) Schedules
                                                                                                                        Case filed via:
   O Attorney Disclosure of Compensation                                                            El Intake Counter by:
   O Petition . Preparer's Notice, Declaration and Signature (Form 119)                                  O Attorney
   O Disclosure of Compensation of Petition Preparer (Form 2800)                                         ZI Debtor - verified ID 954-661-0563
   O Chapter 13 Current Monthly Income                                                                   O Other - copy of ID:
   O Chapter 7 Current Monthly Income
   O Chapter 11 Current Monthly Income                                                              0 Mailed by:
   O Certificate of Credit Counseling (Individuals only)                                               El Attorney
   O Pay Advices (Individuals only) (2 Months)                                                         CI Debtor
   O Chapter 13 Plan, complete with signatures (local form)                                            O Other:
   El Corporate Resolution (Business Ch. 7 & 11)
                                                                                                                History of Case Association
   Ch.11 Business
   O 20 Largest Unsecured Creditors
                                                                                                    Prior cases withi 2 years:
   O List of Equity Security Holders
   O Small Business - Balance Sheet
   O Small Business - Statement of Operations                                                       Signa
   O Small Business - Cash Flow Statement                                                           Acknow edgment of receipt of check list
   C7 Small Business - Federal Tax Returns

   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   Cl Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
       N Paid $ 33  CI 2g-Order Granting         0 3g-Order Granting 10-day (initial payment of $_____ due within 10 days)
         111 2d-Order Denying with filing fee of $_____ due within 10 days                   CI IFP filed (Ch.7 Individuals Only)
        n     No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.

                   You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only) to the address below.
                            All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                      **Failure to Comply may result in the dismissal of your case.**
                                                         UNITED STATES BANKRUPTCY COURT
                                                           75 Ted Turner Drive, SW, Room 1340
                                                                  Atlanta, Georgia 30303
                                                                      404-215-1000
 Intake Clerk:                      Date: 11/22/19                         Case Opener:                                     Date:
